          Case 2:14-cr-00055-JAM Document 29 Filed 01/07/14 Page 1 of 3



1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    RACHELLE BARBOUR, #185395
     Attorney
3    Designated Counsel for Service
     OFFICE OF THE FEDERAL DEFENDER
4    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
5
     Attorney for Defendant
6    ERIC JOHN COP

7
8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                       )   NO. 13-mj-009-CMK
12                                                   )
                           Plaintiff,                )   STIPULATION AND [PROPOSED] ORDER
13                                                   )   TO EXTEND TIME FOR PRELIMINARY
     v.                                              )   HEARING AND EXCLUDE TIME AS TO
14                                                   )   ALL DEFENDANTS
     ERIC JOHN COP, et al.,                          )
15                                                   )   DATE: February 13, 2014
                           Defendants.               )   TIME:  2:00 p.m.
16                                                   )   JUDGE: Hon. Carolyn K. Delaney
                                                     )
17
18           Plaintiff, United States of America, by and through Assistant United States Attorney

19   MICHAEL MCCOY, and Defendants: ERIC JOHN COP, through his attorney RACHELLE

20   BARBOUR, of the Office of the Federal Defender, MARK SCOTT COP, through his attorney,

21   DINA SANTOS, esq., and JOHN RICHARD LEITHMANN, through his attorney, ERIC BERG,

22   esq,, hereby stipulate to continue the Preliminary Hearing set for January 9, 2014 to February 13,

23   2014, at 2:00 p.m.

24           The parties agree that the time beginning from the date of this stipulation extending

25   through February 13, 2014, should be excluded from the calculation of time under the Speedy

26   Trial Act. Further, the Defendants consent to an extension of the time for a Preliminary Hearing

27   until February 13, 2014. Fed.R.Crim.P. 5.1(d). The parties submit that the ends of justice are

28   served by the Court excluding such time, so that they may have reasonable time necessary for
          Case 2:14-cr-00055-JAM Document 29 Filed 01/07/14 Page 2 of 3


1    effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
2    § 3161(h)(7)(B)(iv). In particular, the time is required so that the parties can conduct
3    investigation and discuss any possible pre-indictment disposition. The defendants consent to this
4    continuance.
5              The parties stipulate that this interest of justice outweighs the interest of the public and
6    the defendant in a speedy trial, 18 U.S.C. § 3161(b) and (h)(7)(A), and further that this good
7    cause outweighs the public’s interest in the prompt disposition of criminal cases. Fed.R.Crim.P.
8    5.1(d).
9    Dated: January 6, 2014                                  Respectfully submitted,
10                                                           HEATHER E. WILLIAMS
                                                             Federal Public Defender
11
                                                             /s/ R. Barbour
12                                                           RACHELLE BARBOUR
                                                             Attorney for Defendant
13                                                           ERIC JOHN COP
14
15                                                           /s/ R. Barbour for________________
                                                             DINA SANTOS
16                                                           Attorney for Defendant
                                                             MARK SCOTT COP
17
18
                                                             /s/ R. Barbour for________________
19                                                           ERIC BERG
                                                             Attorney for Defendant
20                                                           JOHN RICHARD LEITHMANN
21
     Dated: January 6, 2014                                  BENJAMIN WAGNER
22                                                           United States Attorney
23                                                           /s/ Michael McCoy
                                                             MICHAEL MCCOY
24                                                           Assistant U.S. Attorney
                                                             Attorney for Plaintiff
25
     //
26   //
27
28

     !Unexpected
      United States v.End
                       Cop,of FormulaUnited
                           et al.,                     -2-
      Stipulation and Order
       Case 2:14-cr-00055-JAM Document 29 Filed 01/07/14 Page 3 of 3


1                                                  ORDER
2             The Court has read and considered the Stipulation for the Extension of Time for
3    Preliminary Hearing pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this
4    matter. The Court hereby finds that the Stipulation, which this Court incorporates by reference
5    into this Order, demonstrates good cause for an extension of time for the Preliminary Hearing
6    date, pursuant to Rule 5.1(d) of the Federal Rules of Criminal Procedure.
7             Furthermore, for the reasons set forth in the parties’ Stipulation, the Court finds that the
8    interests of justice served by granting this continuance outweigh the best interests of the public
9    and defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the
10   extension of time would not adversely affect the public’s interest in the prompt disposition of
11   criminal cases.
12   THEREFORE, FOR GOOD CAUSE SHOWN:
13            1. The date of the Preliminary Hearing is extended to February 13, 2014, at 2:00 p.m.,
14   before Magistrate Judge Carolyn K. Delaney.
15            2.   This time up to and including February 13, 2014 shall be excluded from the
16   calculation pursuant to 18 U.S.C. §3161(h)(7)(A) and Federal Rule of Criminal Procedure 5.1(d).
17   IT IS SO ORDERED.
18   Dated: January 6, 2014
19
20
     Dad1.crim
21   Leithmann0009.stipo.cont.PE

22
23
24
25
26
27
28

     !Unexpected
      United States v.End
                       Cop,of FormulaUnited
                           et al.,                    -3-
      Stipulation and Order
